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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

CHERYL ESTRADA,                              )
                                             )
       Plaintiff,                            )       Civil Action File No.:
                                             )
v.                                           )
                                             )
MIDLAND CREDIT                               )       COMPLAINT WITH
MANAGEMENT, INC.                             )      JURY TRIAL DEMAND
                                             )
       Defendant                             )


                           PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. 1692 et seq. and the Georgia Fair Business Practices Act,

(GFBPA) O.C.G.A. 10-1-390 et seq.

                                       PARTIES

      1.     Plaintiff, Cheryl Estrada, is a natural person who resides in Carollton

County, Georgia.

      2.     Defendant, Midland Credit Management, Inc., is a corporation

authorized to do business in Georgia. Defendant may be served with process via its

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registered agent, Corporation Service Company, at 40 Technology Parkway South,

Suite 300, Norcross, Georgia 30092-2924.

                          JURISDICTION AND VENUE

      3.     This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). This Court has supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

      4.     This Court has personal jurisdiction over Defendant because, inter alia,

Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.     Pursuant to LR 3.1B(3), venue is proper in the Atlanta Division because

the Defendant maintains a Registered Agent in Gwinnett which is in the Atlanta

Division.

                            FACTUAL ALLEGATIONS




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      7.      Plaintiff is a 44-year old woman with deteriorating health. She is

disabled, unable to engage in competitive employment, and is in the process of

obtaining disability insurance benefits through the Social Security Administration.

      8.      Plaintiff is allegedly obligated to pay a consumer debt arising out of

medical services and is therefore, a “consumer”, as that term is defined by 15 U.S.C.

§ 1692a(3).

      9.      Defendant is a collection agency specializing in the collection of

consumer debt.

      10.     Defendant uses interstate commerce and/or mail in its business in the

collection of consumer debts.

      11.     Defendant manages, and collects upon, thousands of consumer debt

accounts annually.

      12.     Defendant is, therefore, a “debt collector” as that term is defined by 15

U.S.C. § 1692a(6).

      13.     Because of her being unable to engage in employment activity, the

Plaintiff has fallen behind on a number of consumer accounts. As a result, she has

received numerous telephone calls and letters from a variety of collection agencies

including the Defendant.




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       14.    On May 4, 2020 the Plaintiff caused to be mailed to the Defendant a

letter which bore both her address and the account number utilized by the Defendant

advising that she was permanently disabled and unable to return to work and that

she would “not be making any payments on this account.” That letter was sent by

certified mail with the tracking number 9171969009350249498108. A copy of this

letter is filed herewith as Exhibit 1.

       15.    Plaintiff’s letter of May 4, 2020, was delivered to and received by the

Defendant on May 8, 2020 at 12:01 p.m. A copy of the USPS tracking document as

downloaded from the USPS website is filed herewith as Exhibit 2.

       16.    Notwithstanding the Defendant’s direct knowledge of the Plaintiff’s

disability and inability to earn income and, specifically, her written notice that she

would not be making a payment on the account in collection, the Defendant sent an

additional letter seeking to collect the same account dated June 14th, 2020. A copy

of this letter is filed herewith as Exhibit 3.

                                 INJURIES-IN-FACT

       17.    The FDCPA provides consumers with “statutorily-created rights to be

free from ‘being subjected to false, deceptive, unfair, or unconscionable means to

collect a debt.’” McCamis v. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2016

U.S. Dist. LEXIS 99492 (M.D. Fla. July 29, 2016); Church v. Accretive Health, Inc.,

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654 Fed. Appx. 990, 2016 U.S. App. LEXIS 12414, 2016 WL 3611543 (11th Cir.

2016).

      18.    An injury-in-fact sufficient to satisfy Article III standing requirements

“may exist solely by virtue of statutes creating legal rights, the invasion of which

creates standing.” Church, at 993, quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 373, 102 S. Ct. 1114, 71 L. Ed. 2d 214 (1982).

      19.    Violation of statutory rights are not a “hypothetical or uncertain” injury,

but one “that Congress has elevated to the status of a legally cognizable injury

through the FDCPA.” McCamis, at 4, citing Church, at 3.

      20.    Defendant is subjecting Plaintiff to false, deceptive, unfair, and

unconscionable means to collect the debt.

      21.    Defendant’s acts and omissions caused particularized harm to the

Plaintiff in that Defendant’s rejection of the Plaintiff’s statutory right to cease

communication by the Defendant has caused her significant stress and anxiety.

      22.    Accordingly, through the violation of Plaintiffs’ statutorily created

rights under the FDCPA, Plaintiffs have suffered an injury-in-fact sufficient to

establish Article III standing.

                                    DAMAGES




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      23.    As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:

      a.)    Being subjected to unfair        and, under the Plaintiff’s particular

circumstances, unconscionable debt collection practices;

      b.)    Uncompensated time expended away from activities of daily living, to

confer with counsel regarding the Defendant's continuing collection efforts; and,

      c.)    Anxiety and worry caused by concern that Plaintiff was going to

continue seeking payment of a disputed debt through direct contact despite

Plaintiff’s clear representation that she would not pay the debt claimed. The anxiety

and worry experienced by the Plaintiff was sufficient to negatively affect her

demeanor, her ability to engage in daily activities, resulted in sleeplessness, and

adversely affected her relationships with others.

                              CAUSES OF ACTION

                                     COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                             15 U.S.C. § 1692 et. seq.

      24.    Plaintiff incorporates by reference paragraphs 1 through 23 as though

fully stated herein.

Violations of 15 U.SC. § 1692c and subparts

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      25.      If a consumer notifies a debt collector in writing that the consumer

refuses to pay a debt, or that the consumer wishes the debt collector to cease further

communication with the consumer, the debt collector shall not communicate further

with the consumer with respect to such debt, except – (1) To advise the consumer

the debt collector’s further efforts are being terminated; (2) To notify the consumer

that debt collector or creditor may invoke specified remedies which are ordinarily

invoked by this debt collector or creditor; or (3) Where applicable, to notify the

consumer that the debt collector or creditor intends to invoke a specified remedy. If

such notice from the consumer is made by mail, notification shall be complete upon

receipt.

      26.      The Defendant’s communication dated June 20, 2020, was a violation

of 15 U.S.C. 1692c(c).

                                     COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT

                            O.C.G.A. § 10-1-390, et seq.

      27.      Plaintiff incorporates by reference paragraphs 1 through 23 and 25

through 26 as though fully stated herein.




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      28.      O.C.G.A. § 10-1-390 et seq is commonly known as the "Fair Business

Practices Act of 1975" (the “GFBPA”).

      29.      The purpose of the GFBPA, is to protect consumers from unfair and/or

deceptive practices in the conduct of any trade or commerce in part or wholly in the

state. O.C.G.A. § 10-1-391.

      30.      O.C.G.A. § 10-1-391 directs that the GFPBA is to be interpreted and

applied liberally and in harmony with the Federal Trade Commission Act, 15 U.S.C.

§ 45(a)(1), which implements the FDCPA.

      31.      O.C.G.A. § 10-1-393(a) of the GFBPA broadly prohibits unfair and/or

deceptive business practices.

      32.      Defendant intentionally engaged in unfair and deceptive business

practices, as set forth herein, in an effort to collect a consumer debt.

      33.      Defendant’s conduct has implications for the consuming public in

general.

      34.      Defendant’s conduct negatively impacts the consumer marketplace.

      35.      Upon information and belief, Defendant does not maintain a place of

business in Georgia and has no assets in Georgia, thus relieving Plaintiffs of the

Notice and Demand requirements of O.C.G.A. § 10-1-399(b).




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       36.      As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages pursuant to O.C.G.A. § 10-1-399(a).

       37.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover exemplary damages pursuant to O.C.G.A. §

10-1-399(a).

       38.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover treble damages pursuant to O.C.G.A. § 10-1-

399(c).

       39.      Plaintiff is entitled to recover reasonable attorney’s fees and expenses

of litigation pursuant to O.C.G.A. § 10-1-399(d).

                                        TRIAL BY JURY

       40.      Plaintiff is entitled to and hereby requests a trial by jury.

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

a.)    Plaintiff’s actual damages;

b.)    Statutory damages pursuant to 15 U.S.C. § 1692k;

c.)    Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k

d.)    General, exemplary, and treble damages pursuant to O.C.G.A. § 10-1-399(a)

       & (c);

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e.)   Reasonable attorney’s fees and costs pursuant to O.C.G.A. § 10-1-399(d);

      and

f.)   Such other and further relief as may be just and proper.

      Respectfully submitted this 16th day of August, 2020.


                                     BERRY & ASSOCIATES

                                      /s/ Matthew T. Berry
                                      Matthew T. Berry
                                      Georgia Bar No.: 055663
                                      matt@mattberry.com
                                      2751 Buford Highway, Suite 600
                                      Atlanta, GA 30324
                                      Ph. (404) 235-3300
                                      Fax (404) 235-3333

                                      Plaintiff’s Attorney




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